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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

UNITED STATES OF AMERICA                            )
                                                    )
              v.                                    )       Criminal No. 06-62-P-H
                                                    )
RYAN B. BUTTERWORTH                                 )
  a/k/a “Butter”                                    )

                   INFORMATION CHARGING PRIOR CONVICTION
                                (21 U.S.C. § 851)

       The United States Attorney charges:

       At the time of the commission of the offenses charged in the above-captioned

Superseding Indictment, the defendant,

                                 RYAN B. BUTTERWORTH
                                      a/k/a “Butter”

had been convicted of the following felony drug offense:

       Unlawful Trafficking in a Schedule W Drug, in violation of 17-A M.R.S.A. §
       1103, a Class B felony, in the Cumberland County Superior Court, State of Maine,
       Docket No. CR99-864, judgment having been entered on October 25, 1999.

       The United States intends to rely upon this conviction in seeking the imposition of the

enhanced penalties available under Title 21 U.S.C. § 841(b)(1)(B).

       Dated at Portland, Maine this 18th day of August, 2006.

                                                            PAULA D. SILSBY
                                                            United States Attorney


                                                            /s/ Craig M. Wolff
                                                            Assistant United States Attorney
                                                            United States Attorney’s Office
                                                            100 Middle Street
                                                            Portland, Maine 04101
                                                            (207) 780-3257
                                                            craig.wolff@usdoj.gov
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2006, I electronically filed the Information Charging

Prior Conviction with the Clerk of Court using the CM/ECF system which will send notification

of such filing to the following:


                                     John P. DeGrinney, Esq.
                                       jplaw@maine.rr.com

                                      Thomas J. Greco, Esq.
                                     tomgreco@maine.rr.com


                                                            PAULA D. SILSBY
                                                            United States Attorney


                                                            /s/ Craig M. Wolff
                                                            Assistant United States Attorney
                                                            United States Attorney’s Office
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